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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            Case No. 23-cv-22798-BLOOM/Otazo-Reyes

 JOHNNY L. PARTIDAS OLMEDO,

           Plaintiff,

 v.

 CLEANER’S GURU LLC, a Florida
 Limited Liability Company d/b/a
 TOTAL G TELECOM, and
 RAFAEL E. HERNANDEZ,
 individually,

       Defendants.
 ________________________________/

                        ORDER ON DEFAULT JUDGMENT PROCEDURE

           THIS CAUSE is before the Court upon the Clerk’s Entry of Default as to Defendant

 Cleaner’s Guru LLC (“Defendant”), filed on September 5, 2023. Upon review of the record, it

 appears that Defendant has indeed failed to respond to the Complaint or otherwise appear in this

 action.

           Accordingly, it is ORDERED AND ADJUDGED that the Plaintiff must file one of the

 following two responses by September 19, 2023:

           (1) Where there is only one Defendant, or where there are multiple Defendants, 1 but no

 allegations of joint and several liability, and no possibility of inconsistent liability between

 Defendants, Plaintiff shall file a Motion for Default Final Judgment.

           The Motion for Default Final Judgment must include affidavits of any sum certain due by



 1
   If there are multiple Defendants, Plaintiff must state in the Motion for Default Final Judgment that there
 are no allegations of joint and several liability, and set forth the basis why there is no possibility of
 inconsistent liability.
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 Defendants, and any other supporting documentation necessary to determine Plaintiff’s measure

 of damages. The Motion shall also be accompanied by (1) the necessary affidavit under the

 Servicemembers Civil Relief Act, 50 U.S.C. app. § 521(b), if applicable; (2) a proposed order

 which details both the factual and legal basis for default; and (3) a proposed final judgment. 2

 Pursuant to the CM/ECF Administrative Procedures, the proposed orders shall be submitted to

 the Court by e-mail in Word format at bloom@flsd.uscourts.gov. Plaintiff shall send a copy of

 the Motion to Defendant's counsel, or to Defendant if it does not have counsel. In the Certificate

 of Service, Plaintiff shall indicate that notice was sent and the address or addresses where notice

 was sent. Plaintiff shall not rely solely on the Court’s CM/ECF system to effect such service.

           If Defendant fails to move to set aside the Clerk’s Default, default final judgment may be

 entered, which, simply put, means that Plaintiff may be able to take Defendant's property or money,

 and/or obtain other relief against Defendant.

           (2) Alternatively, where there are multiple Defendants and allegations of joint and several

 liability, or the possibility of inconsistent liability between Defendants, Plaintiff shall file a Notice

 of Joint Liability. See Frow v. De La Vega, 82 U.S. 552, 554 (1872); 10A Charles Alan Wright

 and Arthur R. Miller, FEDERAL PRACTICE AND PROCEDURE § 2690 (3d ed. 1998) (citing Frow, 82

 U.S. at 554); see also Gulf Coast Fans, Inc. v. Midwest Elecs. Imp., Inc., 740 F.2d 1499, 1512

 (11th Cir. 1984).

           The Notice of Joint Liability must briefly describe the allegations and advise the Court of

 the status of the other Defendants’ liability. Once liability is resolved as to all Defendants, Plaintiff

 may move for the entry of default final judgment against Defendants, as described in (1) above,

 no later than 14 days thereafter.



 2
     These last two are required by Local Rule 7.1(a)(2).


                                                        2
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        Plaintiff’s failure to file a Motion for Default Final Judgment or Notice of Joint Liability

 within the specified time will result in sanctions, including but not limited to, dismissal without

 prejudice as to these Defendants.

        DONE AND ORDERED in Chambers at Miami, Florida, on September 5, 2023.




                                                         _________________________________
                                                         BETH BLOOM
                                                         UNITED STATES DISTRICT JUDGE
 Copies to:

 Counsel of Record

 Cleaner’s Guru LLC
 D/B/A Total G Telecom
 4300 Biscayne Blvd. Ste. 203
 Miami, FL 33137




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